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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

INDERJEET SINGH,
                                                                   DECISION AND ORDER
                                      Petitioner,
                                                                   19-CV-6799L

                       v.


ATTORNEY GENERAL WILLIAM P. BARR, et al.,

                              Respondents.
_______________________________________________


       Petitioner Inderjeet Singh filed a petition in October 2019, challenging his continued

administrative detention in the custody of the Department of Homeland Security. Respondents

answered the petition but now move to dismiss the petition (Dkt. #8) on the grounds that it is now

moot since petitioner is no longer held in the custody of the Department of Homeland Security. It

appears that petitioner was released from custody after a $25,000 immigration bond was posted on

his behalf.



                                         CONCLUSION

       The habeas corpus petition is dismissed for lack of jurisdiction under Fed. R. Civ. P.

12(b)(1). The Clerk of the Court is directed to close the case.

       IT IS SO ORDERED.



                                      _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge
Dated: Rochester, New York
       October 13, 2021.
